                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                         CIVIL ACTION NO: 5:13-CV-66-DSC

DIANA LOUISE HOUCK, et. al.,                )
                                            )
               Plaintiffs,                  )
                                            )
               v.                           )
                                            )
LIFESTORE BANK, et. al.,                    )
                                            )
               Defendants.                  )


                             MEMORANDUM AND ORDER

       THIS MATTER is before the Court on Plaintiffs’ “Motion to Reopen Case” (document

#75) and “Motion for Reconsideration” (document #77).

       On February 20, 2014, the Court dismissed Plaintiffs’ only federal claim, declined

supplemental jurisdiction of the remaining state law claims, and dismissed the Second Amended

Complaint without prejudice. See “Memorandum and Order” (document #71).

       For the reasons stated in Defendants’ briefs in opposition (documents ## 76 and 79),

Plaintiffs’ “Motion to Reopen Case” (document #75) and “Motion for Reconsideration”

(document #77) are DENIED.

       The Clerk is directed to send copies of this Memorandum and Order to the parties’

counsel.

       SO ORDERED.
                               Signed: October 14, 2014




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